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                               Nebraska Supreme Court Advance Sheets
                                        304 Nebraska Reports
                                                 SAYLOR v. STATE
                                                 Cite as 304 Neb. 779



                                   James Saylor, appellant, v. State of
                                       Nebraska et al., appellees.
                                                   ___ N.W.2d ___

                                        Filed January 10, 2020.   No. S-18-793.

                 1. Tort Claims Act: Actions: Time. Neb. Rev. Stat. § 81-8,227 (Reissue
                    2014) sets out a 2-year limitations period that governs not just the time
                    for submitting claims to the Risk Manager, but also the time for begin-
                    ning suit under the State Tort Claims Act.
                 2. ____: ____: ____. Before suit can be filed under the State Tort Claims
                    Act, a claimant must submit the claim in writing to the Risk Manager
                    within 2 years after the claim accrued.
                 3. ____: ____: ____. Generally speaking, a claimant cannot file suit under
                    the State Tort Claims Act until the Risk Manager or State Claims Board
                    makes a final disposition of the claim, but if no final disposition of a
                    claim has been made after 6 months, the claimant is permitted to with-
                    draw the claim and file suit.
                 4. Summary Judgment: Appeal and Error. An appellate court will affirm
                    a lower court’s grant of summary judgment if the pleadings and admit-
                    ted evidence show that there is no genuine issue as to any material facts
                    or as to the ultimate inferences that may be drawn from those facts and
                    that the moving party is entitled to judgment as a matter of law.
                 5. ____: ____. In reviewing a summary judgment, an appellate court views
                    the evidence in the light most favorable to the party against whom the
                    judgment was granted and gives that party the benefit of all reasonable
                    inferences deducible from the evidence.
                 6. Statutes: Appeal and Error. Statutory interpretation presents a question
                    of law, for which an appellate court has an obligation to reach an inde-
                    pendent conclusion irrespective of the decision made by the court below.
                 7. ____: ____. Statutory language is to be given its plain and ordinary
                    meaning, and an appellate court will not resort to interpretation to
                    ascertain the meaning of statutory words which are plain, direct, and
                    unambiguous.
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            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                             SAYLOR v. STATE
                             Cite as 304 Neb. 779
 8. Statutes. It is not within the province of a court to read a meaning into
    a statute that is not warranted by the language; neither is it within the
    province of a court to read anything plain, direct, or unambiguous out of
    a statute.
 9. ____. A court must attempt to give effect to all parts of a statute, and if
    it can be avoided, no word, clause, or sentence will be rejected as super-
    fluous or meaningless.
10. Statutes: Immunity. Statutes authorizing suits against the State are
    to be strictly construed because such statutes are in derogation of the
    State’s sovereign immunity.
11. Tort Claims Act: Actions: Time: Legislature. The Legislature
    expressly states in Neb. Rev. Stat. § 81-8,227(5) (Reissue 2014) that
    § 81-8,227 and Neb. Rev. Stat. § 25-213 (Reissue 2016) “shall consti-
    tute the only statutes of limitations applicable to the State Tort Claims
    Act.” Because Neb. Rev. Stat. § 25-201.02 (Reissue 2016) is not one
    of the applicable statutes listed in § 81-8,227(5), it cannot be applied
    to extend the time period for bringing an action under the State Tort
    Claims Act.

  Appeal from the District Court for Lancaster County: Robert
R. Otte, Judge. Affirmed.
    Michael J. Wilson, of Schaefer Shapiro, L.L.P., for appellant.
   Douglas J. Peterson, Attorney General, Scott R. Straus,
and, on brief, David A. Lopez, Deputy Solicitor General,
for appellees State of Nebraska and Nebraska Department of
Correctional Services.
  Henry L. Wiedrich, of Cline, Williams, Wright, Johnson &amp;
Oldfather, L.L.P., for appellee Correct Care Solutions, L.L.C.
    Miller-Lerman, Cassel, Stacy, and Funke, JJ.
   Stacy, J.
   The central issue in this appeal is whether the savings clause
of Neb. Rev. Stat. § 25-201.01 (Reissue 2016) applies to an
action under the State Tort Claims Act (STCA).1 We conclude
it does not. We therefore affirm the judgment of the district
court dismissing this STCA action as time barred.

1
    Neb. Rev. Stat. §§ 81-8,209 to 81-8,235 (Reissue 2014).
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                              SAYLOR v. STATE
                              Cite as 304 Neb. 779
                        BACKGROUND
   This appeal requires us to consider the timeliness of a tort
action filed in 2017 by James Saylor against the State of
Nebraska, the Nebraska Department of Correctional Services
(DCS), and 10 others alleged to be employed by DCS. Tort
claims against the State and its agents and employees are gov-
erned by the STCA.2 Here, no one disputes that the tort claims
alleged in Saylor’s 2017 action are governed by the STCA;
instead, the dispute is whether his 2017 action was timely com-
menced under the STCA.
   This case has a complicated factual and procedural history.
In this opinion, we address only that which bears directly on
resolving the central question of whether this action is time
barred under the STCA. We begin by setting out the statutes
that govern timeliness under the STCA.
                             STCA
   [1-3] Section 81-8,227 sets out a 2-year limitations period
that governs not just the time for submitting claims to the Risk
Manager, but also the time for beginning suit under the STCA.
Pursuant to § 81-8,227(1), before suit can be filed under the
STCA, a claimant must submit the claim in writing to the Risk
Manager within 2 years after the claim accrued. Generally
speaking, a claimant cannot file suit under the STCA until the
Risk Manager or State Claims Board makes a final disposition
of the claim, but if no final disposition of a claim has been
made after 6 months, the claimant is permitted to withdraw the
claim and file suit under the STCA.3
   Section 81-8,227 also contains several provisions that allow
the 2-year limitations period to be extended under certain cir-
cumstances. For instance, § 81-8227(1) provides:

2
    See Komar v. State, 299 Neb. 301, 908 N.W.2d 610 (2018). See, also,
    § 81-8,209 (“State of Nebraska shall not be liable for the torts of its
    officers, agents, or employees, and no suit shall be maintained against
    the state, any state agency, or any employee of the state on any tort claim
    except to the extent, and only to the extent, provided by the [STCA]”).
3
    § 81-8,227(1).
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              Nebraska Supreme Court Advance Sheets
                       304 Nebraska Reports
                         SAYLOR v. STATE
                         Cite as 304 Neb. 779
      The time to begin suit under [the STCA] shall be extended
      for a period of six months from the date of mailing of
      notice to the claimant by the Risk Manager or State
      Claims Board as to the final disposition of the claim or
      from the date of withdrawal of the claim under section
      81-8,213 if the time to begin suit would otherwise expire
      before the end of such period.4
Section 81-8,227(3) provides that if a claim is “made or filed
under any other law of this state and a determination is made
by a state agency or court” that the STCA is the exclusive
remedy, “the time to make a claim and begin suit . . . shall be
extended for a period of six months.” And § 81-8,227(4) pro-
vides that if a claim is brought under the Nebraska Hospital-
Medical Liability Act, time to begin suit under the STCA can
be extended for 90 days.
   Section 81-8,227(5) expressly states: “This section and sec-
tion 25-213 shall constitute the only statutes of limitations
applicable to the [STCA].” Generally speaking, Neb. Rev. Stat.
§ 25-213 (Reissue 2016) tolls the running of the statute of
limitations for certain claims, including those under the STCA,
if a person is “within the age of twenty years, a person with a
mental disorder, or imprisoned” when the claim accrues.
                      Saylor’s Tort Claim
   Saylor is an inmate in the custody of DCS. On September
14, 2012, he filed a claim with the State Claims Board pursuant
to the STCA.5 Summarized, the claim asserted that on multiple
occasions, employees and agents of DCS negligently failed
to provide him necessary medical care. No one contends that
Saylor failed to timely submit his claim to the State Claims
Board within 2 years of the date it accrued.
   On October 19, 2012, the State Claims Board mailed its
denial of Saylor’s claim. As such, under § 81-8,227(1), Saylor
had 6 months from that date to file suit under the STCA. The

4
    Id.
5
    See id.
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            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                             SAYLOR v. STATE
                             Cite as 304 Neb. 779
Legislature has vested exclusive jurisdiction to hear, determine,
and render judgment on any suit or tort claim under the STCA
in the district court of the county in which the act or omission
complained of occurred.6
                   Saylor Files Tort Action
   Saylor filed the instant action in the district court for
Lancaster County on May 30, 2017. The named defendants
included the State, DCS, and 10 others alleged to be employed
by DCS. The 2017 complaint appears to allege the same claims
of negligent medical care that Saylor presented to the State
Claims Board, and no one contends otherwise. Saylor’s 2017
complaint also alleged civil rights violations under 42 U.S.C.
§ 1983 (2012) against the same defendants, premised on the
same facts.
   On December 6, 2017, the district court dismissed Saylor’s
complaint against several defendants who, according to the
court file, had not been served within the statutory time period.7
             Action Removed to Federal Court
   On December 8, 2017, the State and DCS filed a notice of
removal to federal district court pursuant to 28 U.S.C. § 1446(2012). Section 1446(d) expressly provides that after notice
of removal is given, “the State court shall proceed no further
unless and until the case is remanded.”
   After the case was removed to federal court, the State and
DCS sought dismissal of Saylor’s action, asserting it was
barred by principles of claim preclusion. They argued that
Saylor’s 2017 complaint alleged the same § 1983 claims pre-
viously litigated in a federal court action filed by Saylor in
June 2012. In response to the motion to dismiss, Saylor was
allowed to amend the 2017 complaint to eliminate the § 1983
claims, leaving only the negligence claims. After doing so,
Saylor moved to have the case—now alleging only the STCA

6
    § 81-8,214.
7
    See Neb. Rev. Stat. § 25-217 (Reissue 2016).
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         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                        SAYLOR v. STATE
                        Cite as 304 Neb. 779
claims—remanded to state court. That request was granted on
April 10, 2018.

                  Proceedings After Remand
   After the action was remanded to the state district court, the
State and DCS moved to dismiss the “[operative] Amended
Complaint” pursuant to Neb. Ct. R. Pldg. § 6-1112(b)(1) and
(6), on the ground the tort claims were time barred under the
STCA. Saylor requested and was granted leave to amend his
original 2017 complaint to make it “identical” to the amended
complaint that had been remanded by the federal court, and no
party objected to this procedure. Thereafter, the parties agreed
that the motion to dismiss could be converted into a motion for
summary judgment and that it should be treated as relating to
Saylor’s amended complaint.
   In support of summary judgment, the State and DCS argued
that Saylor’s negligence claims were time barred under the
STCA because the State Claims Board had denied the claims
on October 19, 2012, and Saylor did not file suit on those
claims until May 30, 2017. In response, Saylor argued the sav-
ings clause in § 25-201.01 should be applied to extend the time
period for bringing suit under the STCA.
   Summarized, § 25-201.01 provides that if an action is com-
menced within the time prescribed by the applicable statute
of limitations but then fails for a reason other than the mer-
its, voluntary dismissal, failure of service, or inaction on the
part of the plaintiff, then the plaintiff may commence a new
action “within a period equal to the lesser of (a) six months
after the failure of the action or (b) a period after the failure
of the action equal to the period of the applicable statute of
limitations of the original action.” Relying on a somewhat
tortuous timeline involving the claims Saylor included in his
2012 federal lawsuit, Saylor argued that even though his 2017
tort action was filed more than 4 years after the State Claims
Board denied the claim, it was still commenced within the time
allowed by § 25-201.01 and thus should be deemed timely
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                            SAYLOR v. STATE
                            Cite as 304 Neb. 779
filed. The State and DCS disagreed and generally argued that
the factual circumstances did not implicate the savings clause
under § 25-201.01.
   The district court found § 25-201.01 did not apply and dis-
missed Saylor’s amended complaint with prejudice, finding
it was time barred under the STCA. Saylor filed this appeal,
which we moved to our docket on our own motion.
                 ASSIGNMENTS OF ERROR
   Saylor assigns, restated, that the district court erred in dis-
missing this action as time barred under the STCA and in not
applying the savings clause under § 25-201.01. Because we
find this assignment of error to be dispositive, we do not reach
Saylor’s other assignments of error related to rulings made by
the district court after the case was removed to federal court
but prior to remand.
                  STANDARD OF REVIEW
   [4,5] An appellate court will affirm a lower court’s grant
of summary judgment if the pleadings and admitted evidence
show that there is no genuine issue as to any material facts or
as to the ultimate inferences that may be drawn from those
facts and that the moving party is entitled to judgment as a
matter of law.8 In reviewing a summary judgment, an appel-
late court views the evidence in the light most favorable to the
party against whom the judgment was granted and gives that
party the benefit of all reasonable inferences deducible from
the evidence.9
   [6] Statutory interpretation presents a question of law, for
which an appellate court has an obligation to reach an inde-
pendent conclusion irrespective of the decision made by the
court below.10

 8
     Larsen v. 401 Main Street, 302 Neb. 454, 923 N.W.2d 710 (2019).
 9
     Id.10
     Patterson v. Metropolitan Util. Dist., 302 Neb. 442, 923 N.W.2d 717     (2019).
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                             SAYLOR v. STATE
                             Cite as 304 Neb. 779
                           ANALYSIS
           STCA Statute of Limitations Not Met
   It is undisputed that Saylor’s May 30, 2017, lawsuit was
filed more than 6 months after his claim was denied by the
State Claims Board on October 19, 2012, and thus, the law-
suit was filed outside the statute of limitations set forth in
§ 81-8,227(1). Before the district court, and again in the appel-
late briefing, the parties focused their arguments primarily on
whether Saylor could satisfy the requirements of the savings
clause in § 25-201.01. But at oral argument, the defendants
below argued for the first time that there is no circumstance
under which the savings clause of § 25-201.01 could apply to
an action governed by the STCA, because the plain language
of § 81-8,227(5) provides: “This section and section 25-213
shall constitute the only statutes of limitations applicable to
the [STCA].” We ordered supplemental briefing on the issue,
which presents a question of statutory interpretation.
   [7-9] Statutory language is to be given its plain and ordinary
meaning, and an appellate court will not resort to interpretation
to ascertain the meaning of statutory words which are plain,
direct, and unambiguous.11 It is not within the province of a
court to read a meaning into a statute that is not warranted
by the language; neither is it within the province of a court to
read anything plain, direct, or unambiguous out of a statute.12 A
court must attempt to give effect to all parts of a statute, and if
it can be avoided, no word, clause, or sentence will be rejected
as superfluous or meaningless.13
   When it comes to determining the statute of limitations
governing commencement of STCA actions, the plain lan-
guage of § 81-8,227(5) identifies just two applicable stat-
utes: §§ 81-8,227 and 25-213. Saylor concedes that the plain

11
     JB &amp; Assocs. v. Nebraska Cancer Coalition, 303 Neb. 855, 932 N.W.2d 71     (2019).
12
     Id.13
     Id.                                   - 787 -
             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                             SAYLOR v. STATE
                             Cite as 304 Neb. 779
language of § 81-8,227(5) prevents courts from applying any
other statute of limitations to a STCA claim. But he contends
that § 25-201.01 is not a statute of limitations, but, rather, is
a savings clause. According to Saylor, “a statute of limitations
is not a savings clause, and a savings clause is not a statute
of limitations.”14 Saylor’s argument invites us to construe
the term “statutes of limitations” in § 81-8,227(5) to exclude
statutes that extend the statutory time for filing under cer-
tain circumstances.
   Saylor’s argument ignores the fact that both statutes ref-
erenced in § 81-8,227(5) include provisions that could be
characterized as savings clauses. Specifically, § 81-8,227(1)
and (3) each authorize the 2-year statute of limitations to be
extended for 6 months under certain circumstances. Section
81-8,227(4) authorizes a 90-day extension of the time to begin
suit under the STCA when a request for review is filed under
the Nebraska Hospital-Medical Liability Act. And finally,
§ 25-213 tolls the time period for commencing an action under
the STCA for persons under certain disabilities at the time
their claim accrues.
   Given the nature of the statutes described in § 81-8,227(5)
as “statutes of limitations,” we see no principled reason to
construe the term to refer only to statutes prescribing the time
period for bringing an action, but not to statutes extending the
prescribed time for commencing an action.
   [10,11] Statutes authorizing suits against the State are to
be strictly construed because such statutes are in derogation
of the State’s sovereign immunity.15 The Legislature expressly
states in § 81-8,227(5) that §§ 81-8,227 and 25-213 “shall
constitute the only statutes of limitations applicable to the
[STCA].” Because § 25-201.02 is not one of the applicable
statutes listed in § 81-8,227(5), it cannot be applied to extend
the time period for bringing an action under the STCA. Saylor

14
     Supplemental brief for appellant at 3.
15
     SID No. 1 v. Adamy, 289 Neb. 913, 858 N.W.2d 168 (2015).
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            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                           SAYLOR v. STATE
                           Cite as 304 Neb. 779
does not contend that any other provision in § 81-8,227 or
§ 25-213 applies to extend the time period for commencing
his STCA action, and we therefore agree with the district court
that, as a matter of law, Saylor’s STCA claim is time barred.
                   Additional Assignments
   Because the foregoing analysis shows that Saylor’s STCA
claims were time barred, we need not address his assignments
of error related to other rulings made by the district court. An
appellate court is not obligated to engage in an analysis that is
not necessary to adjudicate the case and controversy before it.16
                        CONCLUSION
  Because Saylor’s STCA action is time barred, the district
court correctly dismissed it with prejudice.
                                              Affirmed.
  Heavican, C.J., and Papik and Freudenberg, JJ., not
participating.

16
     Woodmen of the World v. Nebraska Dept. of Rev., 299 Neb. 43, 907
     N.W.2d 1 (2018).
